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                 Proposed Counsel for CAPITAL FARMS, INC.,
          8       Debtor in Possession

          9
                                          UNITED STATES BANKRUPTCY COURT
        10                      EASTERN DISTRICT OF CALIFORNIA - FRESNO DIVISION
        11
                                                                     Case No. 25-10074-A-12
        12       In re:
                                                                     Chapter 12
        13
                 CAPITAL FARMS, INC.,                                D.C. No. FW-2
        14
                                                                     Preliminary Hearing
        15                                                           Date: January 16, 2025
                                                                     Time: 9:30 a.m.
        16                                                           Place: Dept. A, Courtroom 11, 5th Floor
                          Debtor and Debtor-in-Possession.                  United States Courthouse
        17                                                                  2500 Tulare St., Fresno, California
                                                                     Judge: Hon. Jennifer E. Niemann
        18
                                                                     Final Hearing
        19                                                           Date: January 29, 2025
                                                                     Time: 9:30 a.m.
        20                                                           Place: Dept. A, Courtroom 11, 5th Floor
                                                                            United States Courthouse
        21                                                                  2500 Tulare St., Fresno, California
                                                                     Judge: Hon. Jennifer E. Niemann
        22

        23           EXHIBITS FOR MOTION FOR AUTHORITY TO USE CASH COLLATERAL

        24

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                 EXHIBIT
                    A



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                                                                                            Capital Farms, Inc.
                                                                                          Cash Collateral Budget
                                                                                                Exhibit A
                                             Acres          Jan-25               Feb-25              Mar-25              Apr-25              May-25              Jun-25               Jul-25              Aug-25
       Income
        Advance on 2025 Almond crop                                                                                                                                                    150,000.00          300,000.00
        Crop - Almonds - 2025 crop                                   0.00                 0.00                0.00                0.00                0.00                0.00                 0.00                0.00
        Crop - Almonds - 2024 Crop                           700,580.50                   0.00        450,000.00          450,000.00          450,000.00          337,500.00           135,000.00                  0.00
        Insurance Claim - Brewer                                     0.00         200,000.00                  0.00                0.00                0.00                0.00                 0.00                0.00
        Insurance Claim - Baseline                                   0.00          48,360.00                  0.00                0.00                0.00                0.00                 0.00                0.00
        Insurance Claim - Jamison                                    0.00         116,308.50                  0.00                0.00                0.00                0.00                 0.00                0.00
        Insurance Claim - Brawley                                    0.00         157,870.00                  0.00                0.00                0.00                0.00                 0.00                0.00
        FSA Payments - unknown                                       0.00                 0.00                0.00                0.00                0.00                0.00                 0.00                0.00
        Harvesting (outside)                                         0.00                 0.00                0.00                0.00                0.00                0.00                 0.00                0.00
       Total Income                                     $    700,580.50     $     522,538.50     $    450,000.00     $    450,000.00     $    450,000.00     $    337,500.00     $     285,000.00     $    300,000.00
       Expenses
        Advertising & Marketing                                      0.00                 0.00                0.00                0.00                0.00                0.00                 0.00                0.00
        Bank Charges & Fees                                       60.00                60.00               60.00               60.00                  0.00             10.00               200.00               95.00
        Bees - Brewer                          300.00                0.00          40,700.00                  0.00                0.00                0.00                0.00                 0.00                0.00
        Bees - Senky                           235.00                0.00          22,200.00                  0.00                0.00                0.00                0.00                 0.00                0.00
        Bees - Baseline                        150.00                0.00          14,800.00                  0.00                0.00                0.00                0.00                 0.00                0.00
        Bees - Brawley                         280.00                0.00          46,250.00                  0.00                0.00                0.00                0.00                 0.00                0.00
        Bees - Jamison                         150.00                0.00          37,000.00                  0.00                0.00                0.00                0.00                 0.00                0.00
        Bees - Natomas                         155.00                0.00            7,400.00                 0.00                0.00                0.00                0.00                 0.00                0.00
        Car & Truck                                            5,000.00              5,000.00            5,000.00            5,000.00            5,000.00            4,000.00             4,000.00            4,000.00
        Chemicals/Fertilizer - Brewer          300.00                0.00          48,750.00           32,500.00           32,500.00           32,500.00           32,500.00            16,250.00                  0.00
        Chemicals/Fertilizer - Senky           235.00                0.00          38,187.50           25,458.33           25,458.33           25,458.33           25,458.33            12,729.17                  0.00
        Chemicals/Fertilizer - Baseline        150.00                0.00          24,375.00           16,250.00           16,250.00           16,250.00           16,250.00              8,125.00                 0.00
        Chemicals/Fertilizer - Brawley         280.00                0.00          45,500.00           30,333.33           30,333.33           30,333.33           30,333.33            15,166.67                  0.00
        Chemicals/Fertilizer - Jamison         150.00                0.00          24,375.00           16,250.00           16,250.00           16,250.00           16,250.00              8,125.00                 0.00
        Chemicals/Fertilizer - Natomas         155.00                0.00          25,187.50           16,791.67           16,791.67           16,791.67           16,791.67              8,395.83                 0.00
        Contractors                                            5,000.00              5,000.00            5,000.00            5,000.00            5,000.00                 0.00                 0.00                0.00
        Crop Insurance                                               0.00                 0.00                0.00         30,000.00                  0.00                0.00                 0.00                0.00
        DMV Fees                                                     0.00             777.00                  0.00                0.00                0.00                0.00                 0.00                0.00
        Dues & subscriptions                                         0.00                 0.00                0.00                0.00                0.00                0.00                 0.00                0.00
        Gas And Fuel                                           2,200.00              2,200.00            2,200.00            2,200.00            2,200.00            2,200.00             3,500.00            3,500.00
        Harvesting                                                   0.00                 0.00                0.00                0.00                0.00                0.00                 0.00                0.00
        Insurance                                               901.00                    0.00           1,802.00                 0.00                0.00           7,395.35              925.00                  0.00
        Insurance - WC                                         1,000.00              1,000.00            1,000.00            1,000.00             250.00             1,000.00             1,000.00            1,000.00
        Irrigation Supplies                                          0.00            2,000.00                 0.00                0.00                0.00                0.00                 0.00                0.00
        Lease Payments - Brewer                              130,000.00                   0.00                0.00                0.00                0.00                0.00         130,000.00                  0.00
        Lease Payments - Baseline Rd - 157
       acres                                                  81,000.00                   0.00                0.00                0.00                0.00                0.00          81,000.00                  0.00
        Lease - Senky                                                0.00                 0.00        145,000.00                  0.00                0.00                0.00                 0.00                0.00
        Lease - Brawley                                      148,960.00              7,500.00            7,500.00            7,500.00            7,500.00            7,500.00          148,960.00             7,500.00
        Lease - Jamison                                        7,498.75              7,498.75            7,498.75            7,498.75            7,498.75            7,498.75             7,498.75            7,498.75
        Lease - Natomas                                       19,500.00            19,500.00           19,500.00           19,500.00           19,500.00           19,500.00            19,500.00           19,500.00
        Leasehold Imp- Brewer (Rabo)                                 0.00         110,000.00                  0.00                0.00                0.00                0.00                 0.00        110,000.00
        Legal & Professional Services                                0.00                 0.00                0.00                0.00           5,000.00                 0.00                 0.00                0.00
        Office Supplies & Software                                   0.00                 0.00            500.00                  0.00                0.00                0.00                 0.00                0.00
        Parts & Supply                                         1,500.00              1,500.00            1,500.00            1,500.00             375.00              375.00               375.00              375.00
        Payroll Expenses                                      37,000.00            37,000.00           37,000.00           37,000.00           37,000.00           37,000.00            37,000.00           37,000.00
        Payroll - Harvesting                                         0.00                 0.00                0.00                0.00           2,500.00                 0.00          30,000.00           30,000.00
        Payroll Tax Expenses                                   3,000.00              3,000.00            3,000.00            3,000.00            2,500.00            3,700.00             6,700.00            6,700.00
        PCA Fees                                                     0.00                 0.00                0.00           8,500.00                 0.00                0.00                 0.00                0.00
        Property Taxes - Baseline                                    0.00                 0.00                0.00         21,000.00                  0.00                0.00                 0.00                0.00
        Property Taxes - Senky                                       0.00                 0.00                0.00         10,000.00                  0.00                0.00                 0.00                0.00
        Property Taxes - Brewer                                      0.00                 0.00                0.00         10,000.00                  0.00                0.00                 0.00                0.00
        Property Taxes - Natomas                                     0.00                 0.00                0.00         68,000.00           10,000.00                  0.00                 0.00                0.00
        Property taxes - Brawly                                      0.00                 0.00                0.00         20,500.00                  0.00                0.00                 0.00                0.00
        Property taxes - Jamison                                     0.00                 0.00                0.00           9,000.00                 0.00                0.00                 0.00                0.00
        Repairs & Maintenance                                  5,000.00              5,000.00            5,000.00            5,000.00            5,000.00            5,000.00             5,000.00            5,000.00
        Taxes & Licenses                                             0.00                 0.00            500.00                  0.00           1,750.00             500.00               500.00              500.00
        Utilities - Baseline                                    500.00                500.00              500.00              500.00             2,750.00            2,750.00             2,750.00            2,750.00
        Utilities - Baseline (Jackson rd)                      1,000.00              1,000.00            1,000.00            1,000.00            4,500.00            4,500.00             4,500.00            2,750.00
        Utilities - Senky                                      1,250.00              1,250.00            1,250.00            1,250.00            2,500.00            2,500.00             2,500.00            4,500.00
        Utilities - Brewer                                     1,000.00              1,000.00            1,000.00            1,000.00            1,000.00            1,000.00             1,000.00            1,000.00
        Utilities - Natomas                                     750.00                750.00              750.00              750.00                  0.00                0.00                 0.00                0.00
        Utilities - Brawly                                     7,000.00              7,000.00            7,000.00            7,000.00          12,500.00           12,500.00              5,500.00            5,500.00
        Utilities - Jamison                                    2,500.00              5,500.00            5,500.00            5,500.00          11,500.00           11,500.00            11,500.00           11,500.00
        Well Drilling - APN 017-130-051
       Baseline                                                      0.00                 0.00                0.00                0.00        158,150.00                  0.00                 0.00                0.00
        Water Coalition Permit Fees                            1,550.00                   0.00                0.00                0.00            300.00                  0.00                 0.00                0.00
        Yard Rental                                             300.00                300.00              300.00              300.00              300.00              300.00               300.00              300.00
       Total Expenses                                   $    463,469.75     $     599,060.75     $    396,944.08     $    426,142.08     $    442,157.08     $    268,312.43     $     573,000.42     $    260,968.75
       Accumulated Expenses                             $    463,469.75     $    1,062,530.50    $   1,459,474.58    $   1,885,616.67    $   2,327,773.75    $   2,596,086.18    $    3,169,086.60    $   3,430,055.35


       Net Operating Income                             $    237,110.75     -$     76,522.25     $     53,055.92     $     23,857.92     $       7,842.92    $     69,187.57     -$    288,000.42     $     39,031.25
       Cumulative net income                            $    237,110.75     $     160,588.50     $    213,644.42     $    237,502.33     $    245,345.25     $    314,532.82     $      26,532.40     $     65,563.65




                                                                                                                                                                                                            Exhibit A, Page 1 of 2

                                                                                            Exhibits, Page 4 of 7
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                                                                                                       Capital Farms, Inc.
                                                                                                     Cash Collateral Budget
                                                                                                           Exhibit A
                                                  Sep-25              Oct-25               Nov-25              Dec-25              Total
       Income
        Advance on 2025 Almond crop                300,000.00                                                                       750,000.00
        Crop - Almonds - 2025 crop                         0.00        250,000.00                   0.00       4,832,000.00        5,082,000.00
        Crop - Almonds - 2024 Crop                         0.00                0.00                 0.00                0.00       2,523,080.50
        Insurance Claim - Brewer                           0.00                0.00                 0.00                0.00        200,000.00
        Insurance Claim - Baseline                         0.00                0.00                 0.00                0.00         48,360.00
        Insurance Claim - Jamison                          0.00                0.00                 0.00                0.00        116,308.50
        Insurance Claim - Brawley                          0.00                0.00                 0.00                0.00        157,870.00
        FSA Payments - unknown                             0.00                0.00                 0.00                0.00               0.00
        Harvesting (outside)                               0.00        114,500.00                   0.00                0.00        114,500.00
       Total Income                          $     300,000.00     $    364,500.00 $                 0.00   $   4,832,000.00    $   8,242,119.00
       Expenses
        Advertising & Marketing                            0.00                0.00            1,000.00                 0.00           1,000.00
        Bank Charges & Fees                            150.00               25.00                   0.00                0.00            720.00
        Bees - Brewer                                      0.00                0.00                 0.00                0.00         40,700.00
        Bees - Senky                                       0.00                0.00                 0.00                0.00         22,200.00
        Bees - Baseline                                    0.00                0.00                 0.00                0.00         14,800.00
        Bees - Brawley                                     0.00                0.00                 0.00                0.00         46,250.00
        Bees - Jamison                                     0.00                0.00                 0.00                0.00         37,000.00
        Bees - Natomas                                     0.00                0.00                 0.00                0.00           7,400.00
        Car & Truck                                   4,000.00            4,000.00             4,000.00            4,000.00          53,000.00
        Chemicals/Fertilizer - Brewer                      0.00                0.00                 0.00                0.00        195,000.00
        Chemicals/Fertilizer - Senky                       0.00                0.00                 0.00                0.00        152,750.00
        Chemicals/Fertilizer - Baseline                    0.00                0.00                 0.00                0.00         97,500.00
        Chemicals/Fertilizer - Brawley                     0.00                0.00                 0.00                0.00        182,000.00
        Chemicals/Fertilizer - Jamison                     0.00                0.00                 0.00                0.00         97,500.00
        Chemicals/Fertilizer - Natomas                     0.00                0.00                 0.00                0.00        100,750.00
        Contractors                                        0.00         15,000.00            15,000.00           15,000.00           70,000.00
        Crop Insurance                                     0.00                0.00                 0.00                0.00         30,000.00
        DMV Fees                                           0.00                0.00                 0.00                0.00            777.00
        Dues & subscriptions                               0.00                0.00            1,575.00                 0.00           1,575.00
        Gas And Fuel                                  2,200.00            2,200.00             2,200.00            2,200.00          29,000.00
        Harvesting                                  35,000.00           35,000.00            35,000.00                  0.00        105,000.00
        Insurance                                     7,589.90             925.00              5,250.00                 0.00         24,788.25
        Insurance - WC                                1,000.00            1,000.00             1,000.00            1,000.00          11,250.00
        Irrigation Supplies                                0.00                0.00                 0.00                0.00           2,000.00
        Lease Payments - Brewer                            0.00                0.00                 0.00                0.00        260,000.00
        Lease Payments - Baseline Rd - 157
       acres                                               0.00                0.00                 0.00                0.00        162,000.00
        Lease - Senky                              145,000.00                  0.00                 0.00                0.00        290,000.00
        Lease - Brawley                               7,500.00            7,500.00             7,500.00            7,500.00         372,920.00
        Lease - Jamison                               7,498.75            7,498.75             7,498.75            7,498.75          89,985.00
        Lease - Natomas                             19,500.00           19,500.00            19,500.00           19,500.00          234,000.00
        Leasehold Imp- Brewer (Rabo)                       0.00                0.00                 0.00                0.00        220,000.00
        Legal & Professional Services                      0.00                0.00                 0.00                0.00           5,000.00
        Office Supplies & Software                         0.00                0.00                 0.00                0.00            500.00
        Parts & Supply                                 375.00              375.00               375.00              375.00             9,000.00
        Payroll Expenses                            37,000.00           37,000.00            37,000.00           37,000.00          444,000.00
        Payroll - Harvesting                        30,000.00                  0.00                 0.00                0.00         92,500.00
        Payroll Tax Expenses                          6,700.00            3,700.00             3,700.00            3,700.00          49,400.00
        PCA Fees                                           0.00                0.00                 0.00                0.00           8,500.00
        Property Taxes - Baseline                          0.00                0.00                 0.00         10,000.00           31,000.00
        Property Taxes - Senky                             0.00                0.00                 0.00         21,000.00           31,000.00
        Property Taxes - Brewer                            0.00                0.00          10,000.00           10,000.00           30,000.00
        Property Taxes - Natomas                           0.00                0.00          17,000.00                  0.00         95,000.00
        Property taxes - Brawly                            0.00                0.00          20,500.00                  0.00         41,000.00
        Property taxes - Jamison                           0.00                0.00            9,000.00                 0.00         18,000.00
        Repairs & Maintenance                         5,000.00            5,000.00             5,000.00            5,000.00          60,000.00
        Taxes & Licenses                               500.00              500.00               500.00              500.00             5,750.00
        Utilities - Baseline                          1,750.00            1,750.00              500.00              500.00           17,500.00
        Utilities - Baseline (Jackson rd)             2,750.00            2,750.00             1,250.00            1,000.00          28,000.00
        Utilities - Senky                             4,500.00            4,500.00             2,500.00                 0.00         28,500.00
        Utilities - Brewer                            2,500.00            1,500.00             1,500.00            1,500.00          15,000.00
        Utilities - Natomas                            750.00              750.00              1,000.00            1,000.00            6,500.00
        Utilities - Brawly                            5,500.00            5,500.00             5,500.00            5,500.00          86,000.00
        Utilities - Jamison                           5,500.00            5,500.00             3,500.00            2,500.00          82,000.00
        Well Drilling - APN 017-130-051
       Baseline                                            0.00                0.00                 0.00                0.00        158,150.00
        Water Coalition Permit Fees                        0.00                0.00                 0.00                0.00           1,850.00
        Yard Rental                                    300.00              300.00               300.00              300.00             3,600.00
       Total Expenses                        $     332,563.65     $    161,773.75     $     218,648.75     $    156,573.75     $   4,299,615.25
       Accumulated Expenses                  $    3,762,619.00    $   3,924,392.75    $    4,143,041.50    $   4,299,615.25


       Net Operating Income                  -$     32,563.65     $    202,726.25     -$    218,648.75     $   4,675,426.25    $   3,942,503.75
       Cumulative net income                 $      33,000.00     $    235,726.25     $      17,077.50     $   4,692,503.75




                                                                                                                                                  Exhibit A, Page 2 of 2

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                 EXHIBIT
                    B



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Doc 8




                                                                   Capital Farms, Inc.
                                                               2025 2026 Crop Projections
                                                  Proj 2025         Proj 2025                              Revenue    Farming
                 Acres in Production              lbs/acre          Production      Price/lb Total         $/Acre     Costs/Acre
                                300    Brewer                 2,200         660,000 $ 2.25 $ 1,485,000 $ 4,950.00           3315.52
                                155    Natomas                1,500         232,500 $ 2.25 $       523,125 $ 3,375.00       3315.52
                                235    Sankey                 1,700         399,500 $ 2.25 $       898,875 $ 3,825.00       3315.52
                                150    Jameson                2,500         375,000 $ 2.25 $       843,750 $ 5,625.00       3315.52
                                150    Baseline               1,500         225,000 $ 2.25 $       506,250 $ 3,375.00       3315.52
                                280    Brawley                2,500         700,000 $ 2.25 $ 1,575,000 $ 5,625.00           3315.52
                                                                                                       -
                               1270                           2,041        2,592,000         $   5,832,000
Case 25-10074




                                                  Proj 2026         Proj 2026                              Revenue    Farming
                                                  lbs/acre          Production      Price/lb Total         $/Acre     Costs/Acre
                                300    Brewer                 2,300         690,000 $ 2.25 $ 1,552,500 $ 5,175.00           3315.52
                                155    Natomas                1,800         279,000 $ 2.25 $       627,750 $ 4,050.00       3315.52
                                235    Sankey                 2,000         470,000 $ 2.25 $ 1,057,500 $ 4,500.00           3315.52
                                150    Jameson                2,500         375,000 $ 2.25 $       843,750 $ 5,625.00       3315.52
                                150    Baseline               1,800         270,000 $ 2.25 $       607,500 $ 4,050.00       3315.52
                                280    Brawley                2,500         700,000 $ 2.25 $ 1,575,000 $ 5,625.00           3315.52
                                                                                                       -
                               1270                           2,192        2,784,000         $   6,264,000
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